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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:21-cv-02637-RM-KMT

  JANE DOES 1 through 11, and JOHN DOES 1, 3 through 7,

         Plaintiffs,

  v.

  BOARD OF REGENTS of the UNIVERSITY OF COLORADO, et al.,

         Defendants.

          DEFENDANTS’ REPLY IN SUPPORT OF THEIR MOTION TO DISMISS

         Nearly two million patients are treated each year at the Anschutz Medical Campus,

  including the elderly, the very young, and the very sick. Defendants are responsible for ensuring

  the health and safety of each of those patients, as well as that of every employee and student who

  is part of the Anschutz community. To protect that community in the midst of the global

  pandemic, Defendants promulgated a policy requiring COVID-19 vaccinations for all Anschutz

  students and employees, subject to certain exemptions. After failing to prove a likelihood of

  success on the merits in their effort to enjoin that policy, Plaintiffs now rehash the same

  arguments in hoping to convince the Court that Defendants’ health and safety measure was

  actually a nefarious scheme aimed at culling certain religious adherents from the Anschutz

  community. Plaintiffs’ claims are conjured from thin air, premised on conclusory assertions of

  animosity and a superseded vaccination policy in place for less than one month. The Court

  should reject the claims and arguments advanced by Plaintiffs—just as courts all over the

  country have—and dismiss the Amended Complaint.

  I.     There is no live controversy, mooting several of Plaintiffs’ claims.

         Plaintiffs’ Amended Complaint includes claims for declaratory and injunctive relief
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  aimed at the September 1 Policy, which the University repealed after three weeks and replaced

  with the September 24 Amended Policy. Am. Compl. ¶ 61. The University then granted religious

  accommodations to several Plaintiffs, while others voluntarily left the University and one

  actually got vaccinated. These events moot several of Plaintiffs’ claims because they render it

  “impossible for the court to grant any effectual relief.” Denver Bible Church v. Polis, 2022 U.S.

  App. LEXIS 1994, at *7 (10th Cir. Jan. 24, 2022) (quotation omitted).

         A.      Jane Does 4 and 6 and John Does 3, 4, 5, and 7 have received the requested
                 accommodations, and Jane Doe 7 received the vaccine.

         There is no present controversy between Defendants and these Plaintiffs because,

  contrary to Plaintiffs’ assertion, they are not “required to submit to mandatory COVID-19

  vaccination or else lose their jobs.” ECF No. 81 at 2. Plaintiffs concede—as they must—that

  these Plaintiffs have been allowed to work remotely and thus are “removed from the scope of the

  Policy.” Id. at 5. This alone moots their claims. The Court need not consider whether Defendants

  are constitutionally required to grant these Plaintiffs religious exemptions, because “[t]here is no

  point in ordering an action that has already taken place.” S. Utah Wilderness All. v. Smith, 110

  F.3d 724, 728 (10th Cir. 1997).

         Recognizing the unsustainability of their arguments, Plaintiffs now pivot to suggest that

  these accommodations are insufficient because they involve remote work. But a glance back at

  the Amended Complaint reveals that Plaintiffs’ claims were not based on their dissatisfaction

  with working remotely but on Defendants’ alleged failure to honor Plaintiffs’ religious beliefs.

  See, e.g., Am. Compl. ¶¶ 193–202 (describing “[h]ow Plaintiffs have been harmed” and focusing

  on threatened job loss); id. at ¶¶ 212–29 (Free Exercise claim based on denial of

  accommodations). The Amended Complaint does reference remote work for John Does 3, 5, and

  7, but those allegations are premised on Plaintiffs’ unfounded concerns that they would “soon


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  become ineffective and eventually unable to perform [their] job[s].” Id. at ¶¶ 156, 166, 177. This

  claim is not ripe (and speculative anyway) and undermined by the accommodations afforded by

  Defendants allowing these Plaintiffs to work remotely indefinitely. See, e.g., ECF No. 76-2

  (accommodating Plaintiff whose job “has always been designated a 100 percent remote

  position”). As the pandemic has proven, fully remote work is more than possible and does not

  suggest that these Plaintiffs are likely to lose their jobs.1

          B.      Jane Doe 2 and John Doe 6 each voluntarily left the University and are thus
                  no longer subject to the Amended Policy.

          Plaintiffs admit—as again they must—that “these Plaintiffs separated from the

  University” but argue that they can still challenge the Amended Policy because their separation

  was in connection with that policy. ECF No. 81 at 8. The Court can give these claims short shrift

  under longstanding Tenth Circuit case law, which stands for the now-obvious proposition that a

  plaintiff’s request for declaratory relief “cannot be considered” when the plaintiff’s “lack of any

  present or probable future connection to [the defendant] moots her claim for relief.” Cox v.

  Phelps Dodge Corp., 43 F.3d 1345, 1348 (10th Cir. 1994); accord Beattie v. United States, 949

  F.2d 1092, 1094 (10th Cir. 1991) (“Under the principles recited above, Plaintiff’s termination of

  his employment . . . clearly mooted any claims for relief in this regard.”). Plaintiffs thus cannot

  maintain equitable claims against a policy that no longer applies to them.

          C.      The Court cannot grant any equitable relief relating to a repealed policy
                  because there is no relief to grant.

          This Court has already concluded on two occasions that Plaintiffs’ equitable claims


  1
   Plaintiffs do not dispute that Jane Doe 7 received the vaccine but argue that her claim is not
  moot because the University might require a vaccine booster in the future. ECF No. 81 at 8 n.6.
  But elsewhere, Plaintiffs admit there is no current booster-shot mandate. Id. at 26. Thus, Jane
  Doe 7 is in compliance with the Amended Policy and any potential controversy based on a
  hypothetical future refusal to a hypothetical future booster requirement is not ripe for resolution.

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  pertaining to the September 1 Policy are moot. ECF No. 21 at 2–3; ECF No. 65 at 5–6. The

  Court is correct, as any equitable relief aimed at that repealed and superseded policy would have

  no effect in the real world because it is the Amended Policy that now controls. See, e.g., Rio

  Grande Silvery Minnow v. Bureau of Reclamation, 601 F.3d 1096, 1112 (10th Cir. 2010).

  Plaintiffs now reassert their failed arguments and insist that the September 1 Policy, superseded

  after three weeks in 2021, is somehow still causing them harm. Yet Plaintiffs fail to identify

  either the specifics of the claimed harm or any meaningful prospective relief the Court could

  provide regarding the September 1 Policy when the University has already repealed that policy

  and reconsidered Plaintiffs’ accommodation requests under the Amended Policy. There is simply

  no real-world relief the Court can grant under the repealed September 1 Policy.2

         Plaintiffs’ claimed need for additional “process” to challenge “undue hardship”

  determinations is likewise unavailing because it relates specifically to the Amended Policy, not

  the September 1 Policy; every claim by Plaintiffs pertaining to the September 1 Policy remains

  fatally moot. ECF No. 81 at 9. Whatever “liberty interest” in avoiding termination Plaintiffs

  might claim, that interest implicates the Amended Policy, not the repealed policy which no

  longer applies to any Plaintiff.

         Moreover, Plaintiffs do nothing to distinguish Denver Bible Church v. Polis, 2022 U.S.

  App. LEXIS 1994 (10th Cir. Jan. 24, 2022), which squarely controls this case. There, the Tenth

  Circuit deemed moot a challenge to COVID-related public health orders because the requested

  equitable relief would have no effect on the State’s future conduct because it had since

  superseded the challenged health orders and thus no longer enforced them. Id. at *9–10. Young


  2
   Even for those Plaintiffs who separated from the University prior to review under the Amended
  Policy, equitable relief pertaining to the September 1 Policy would have no real-world impact
  because those Plaintiffs would still be subject to the Amended Policy instead.

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  America’s Foundation v. Kaler, 14 F.4th 879 (8th Cir. 2021), is likewise on point in rejecting as

  moot a challenge to a policy that had been abrogated and replaced by a new policy. Id. at 886–87

  (“[T]he new policy is distinct from the [old policy] such that providing declaratory or injunctive

  relief with respect to the [old policy] would have no effect . . . .”). Plaintiffs’ equitable claims

  against the September 1 Policy are moot and the Court should dismiss them.

  II.       The Eleventh Amendment bars all claims for damages against Defendants sued in
            their official capacity and all claims against the Board of Regents and Saliman.

            Plaintiffs concede that the Board of Regents is entitled to Eleventh Amendment immunity

  from their constitutional claims and that they cannot assert damages claims against Defendants in

  their official capacities. ECF No. 81 at 10–11. These claims should all be dismissed. Plaintiffs

  insist, however, that (A) the Board of Regents is not immune from an ADA claim, and

  (B) Saliman, the President of the University, is not immune at all under Ex parte Young.

  Plaintiffs are wrong on both counts.

            A.      The Board of Regents’ immunity covers Plaintiffs’ ADA claim.

            Although Title II of the ADA purports to abrogate state sovereign immunity, the validity

  of that abrogation must be determined on a case-by-case basis. Guttman v. Khalsa, 669 F.3d

  1101, 1117 (10th Cir. 2012). While Plaintiffs quote the relevant standard, they do not attempt to

  show how it would be satisfied here. Nor could they, because (1) Plaintiffs do not state a

  plausible claim under the ADA, (2) Plaintiffs do not state a plausible claim under the Fourteenth

  Amendment,3 and (3) there is no documented history of constitutional violations related to

  Plaintiffs’ novel (and unsupportable) theory of “disability” based on vaccination status. See id. at

  1113–25 (applying relevant standard and concluding that Title II does not validly abrogate state




  3
      Plaintiffs’ failure to state a claim is addressed in infra Section IV.

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  sovereign immunity); Turner v. Nat’l Council of State Bds. of Nursing, Inc., 561 F. App’x 661,

  665–68 (10th Cir. 2014) (same). Because there is no valid abrogation of state sovereign

  immunity in this context, the Board of Regents is entitled to immunity from Plaintiffs’ ADA

  claim in addition to its undisputed immunity from Plaintiffs’ other claims.

         B.      Defendant Saliman is entitled to Eleventh Amendment immunity.

         Plaintiffs acknowledge that Saliman, the University President, is entitled to immunity

  unless he fits within the Ex parte Young exception, which requires “a particular duty to ‘enforce’

  the statute in question and a demonstrated willingness to exercise that duty.” Hendrickson v.

  AFSCME Council 18, 992 F.3d 950, 965 (10th Cir. 2021) (quotation omitted). Saliman is

  referenced in only a single allegation in the Amended Complaint, which states that he is “the

  President of the University of Colorado” and “[h]is office issued, maintains, and oversees the

  COVID-19 vaccination mandate for all students and staff of the University.” Am. Compl. ¶ 35.

  In an associated footnote, Plaintiffs expressly admit that they cannot establish any actual

  connection between Saliman and the Amended Policy, because “Plaintiffs do not know the

  extent or nature of Defendant Saliman’s involvement.” Id. at ¶ 35 n.1. Plaintiffs thus rely solely

  on the general duty of Saliman’s office to enforce University policies. This is woefully

  insufficient under the Ex parte Young exception, which requires “more than a mere general duty

  to enforce the law.” Hendrickson, 992 F.3d at 965 (quotation omitted). Where the connection to

  a challenged policy “stems from [a] general enforcement power” and not “a particular duty to

  enforce the challenged [policy],” Defendants “are not proper parties, and they have Eleventh

  Amendment immunity.” Id. at 967.

         Here, Saliman has no direct connection to or any particular duty to enforce the Amended

  Policy, which, per its own terms, is to be enforced by the “Executive Vice Chancellor for



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  Administration and Finance | CFO, University of Colorado Anschutz Medical Campus.” Ex. 28

  to Am. Compl. The fact that Saliman “appoints the Anschutz Chancellor, who in turn” approved

  the Amended Policy, ECF No. 81 at 12 (emphasis and footnote omitted), is precisely the sort of

  daisy-chain connection the Tenth Circuit has deemed to be insufficient to trigger the Ex parte

  Young exception. See Hendrickson, 992 F.3d at 965; Chamber of Com. of the U.S. v.

  Edmondson, 594 F.3d 742, 760 (10th Cir. 2010).

         Nor can Plaintiffs rely on Coalition To Defend Affirmative Action v. Brown, 674 F.3d

  1128 (9th Cir. 2012), which held that the requisite connection “must be fairly direct” and that “a

  generalized duty to enforce state law or general supervisory power over the persons responsible

  for enforcing the challenged provision will not subject an official to suit.” Id. at 1134 (quotation

  omitted). The court held that the state official at issue had that “fairly direct” connection because

  he was responsible for enforcing the challenged policy, which designated no other enforcement

  entity. Id. at 1134–35. Here, in contrast, the Amended Policy expressly designates an

  enforcement entity, and it is not Saliman.4 Ex. 28 to Am. Compl. The Ex parte Young exception

  does not come close to applying here, and the Court should dismiss all claims against Saliman.5

  III.   Defendants are entitled to qualified immunity from claims brought against them
         under federal law in their individual capacities.

         As explained in more detail in infra Section IV, Plaintiffs do not plausibly allege any



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    Plaintiffs’ resort to El-Ghori v. Grimes, 23 F. Supp. 2d 1259 (D. Kan. 1998), is likewise
  unavailing. That district court found a state official entitled to Eleventh Amendment immunity,
  and Plaintiffs’ reliance on Grimes confuses a necessary condition for a sufficient one: a state
  official must have the power to perform the requested act but must also have “a particular duty to
  ‘enforce’ the statute in question and a demonstrated willingness to exercise that duty.”
  Hendrickson, 992 F.3d at 965. The latter requirements are not satisfied here.
  5
   For some reason Plaintiffs cite Fed. R. Civ. P. 25(d) and 17(d), but those rules—dealing with
  substitution of parties and designation of a public officer by title and name—have nothing to do
  with Eleventh Amendment immunity and are unresponsive to Defendants’ arguments.

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  violation of federal law. While that alone renders Defendants entitled to qualified immunity,

  Plaintiffs also fail to meet their burden of showing that their claimed rights were clearly

  established at the time of the challenged conduct. This is true for both (A) the Amended Policy,

  and (B) the September 1 Policy.6

         A.      The Amended Policy does not violate clearly established law.

         The Supreme Court and circuit courts all over the country have rejected arguments just

  like Plaintiffs’ in upholding the constitutionality of vaccination mandates without religious

  exemptions, just like both the Amended Policy and the September 1 Policy. See ECF No. 76 at

  16–17 (collecting cases). In the same vein, neither the Supreme Court nor the Tenth Circuit has

  struck down any COVID-19 vaccination mandate due to the lack of a religious exemption. Id. at

  16. Plaintiffs don’t attempt to argue otherwise.

         Instead, Plaintiffs invite the Court to disregard all that, asserting that “[n]umerous federal

  courts have recently held that COVID-19 vaccine mandates likely violated the First Amendment

  as applied to religious objectors.” ECF No. 81 at 19. The Court should reject this argument for

  several reasons. First, Plaintiffs primarily rely on out-of-circuit, unpublished district court cases

  that “lack the precedential weight necessary to clearly establish the law.” Crane v. Utah Dep’t of

  Corr., 15 F.4th 1296, 1306 (10th Cir. 2021); accord Grissom v. Roberts, 902 F.3d 1162, 1168

  (10th Cir. 2018). Second, many of these cases post-date Defendants’ challenged conduct and thus

  cannot show that the law “was clearly established at the time of the challenged conduct.” Walker

  v. Mohiuddin, 947 F.3d 1244, 1248 n.3 (10th Cir. 2020) (emphasis added) (quotation omitted).



  6
   It is unclear if the Amended Complaint asserts damages claims against the unnamed “Vaccine
  Verify” defendants in their individual capacities, but to the extent it does, the same qualified
  immunity analysis applies, consistent with Defendants’ argument that the “individual Defendants
  are entitled to qualified immunity from Plaintiffs’ individual-capacity claims.” ECF No. 76 at 17.

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  Third, these cases involved markedly different circumstances and policies lacking the neutral and

  generally applicable nature of the Amended Policy.7 Finally, the cases cited in Defendants’

  Motion confirm the propriety of the Amended Policy. ECF No. 76 at 16–17.

         Plaintiffs also espouse various high-level First Amendment principles, for example,

  “[the] government cannot intentionally interfere with religious exercise in order to achieve a

  secular end.” ECF No. 81 at 20. Lofty platitudes, however, do not rescue Plaintiffs’ claims

  because the Court cannot “define clearly established law at a high level of generality” and must

  instead view the clearly established inquiry “in light of the specific context of the case, not as a

  broad general proposition.” Bishop v. Szuba, 739 F. App’x 941, 944–45 (10th Cir. 2018)

  (quotation omitted). The general principles cited by Plaintiffs do not come close to establishing

  that the particular conduct at issue—enforcement of a neutral and generally applicable COVID-

  19 vaccination policy that denies religious exemptions to students generally and to employees

  where accommodation would pose an undue hardship—would have caused any reasonable

  official to understand that their conduct violated federal law.8

         Finally, Plaintiffs reiterate their old argument that the Amended Policy treats

  “comparable secular activity more favorably than religious exercise.” ECF No. 81 at 20 (quoting


  7
    For example, in Dahl v. Board of Trustees of Western Michigan University, 15 F.4th 728 (6th
  Cir. 2021), the court addressed a university vaccination policy that applied only to student
  athletes and expressly provided for individualized exemptions. Id. at 733–34. And in Magliulo v.
  Edward Via College of Osteopathic Medicine, 2021 U.S. Dist. LEXIS 159265 (W.D. La. Aug.
  17, 2021), the court emphasized that its analysis differed from prior vaccine-mandate cases
  because it was applying specific Louisiana statutes. Id. at *22.
  8
    Oddly, Plaintiffs’ cited cases actually undermine Plaintiffs’ arguments. See Shrum v. City of
  Coweta, 449 F.3d 1132, 1143 (10th Cir. 2006) (“[T]he mere failure of a government employer to
  accommodate the religious needs of an employee, where the need for accommodation arises
  from a conflict with a neutral and generally applicable employment requirement, does not violate
  the Free Exercise Clause . . . .”); Church of the Lukumi Babalu Aye, Inc. v. City of Hialeah, 508
  U.S. 520, 535 (1993) (“[A] social harm may have been a legitimate concern of government for
  reasons quite apart from discrimination.”).

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   Tandon v. Newsom, 141 S. Ct. 1294, 1296 (2021)). This Court has already rejected Plaintiffs’

   reliance on Tandon, correctly concluding that “the Court does not see how offering employees

   the opportunity to request a religious accommodation could amount to treating comparable

   secular activity more favorably than religious exercise.” ECF No. 65 at 8–9. (In any event,

   Tandon involved a COVID-related restriction on public gatherings, not a vaccination policy, and

   so is distinguishable on that ground alone.) Nor are religious and medical exemptions

   comparable, because requiring individuals with religious objections to get vaccinated furthers the

   University’s interest in protecting the health of its community whereas requiring medically

   contraindicated vaccinations would undermine that interest. See Doe v. San Diego Unified Sch.

   Dist., 19 F.4th 1173, 1178 (9th Cir. 2021) (vaccine policy’s medical exemption “does not

   undermine the [government’s] interests as a religious exemption would”).9 Accordingly, the

   Amended Policy does not violate clearly established law and Plaintiffs fail to prove otherwise.

          B.      The September 1 Policy did not violate clearly established law.

          The qualified immunity arguments in Defendants’ Motion applied universally to both

   policies, showing that neither the Supreme Court nor the Tenth Circuit has ever held that any sort

   of vaccination policy violated the First Amendment, entitling Defendants “to qualified immunity

   from Plaintiffs’ individual-capacity claims brought in Counts I, II, III, and IV.” ECF No. 76 at

   17. Moreover, it is not clear from the Amended Complaint that Plaintiffs brought any claims for

   damages against Defendants in their individual capacities in connection with the September 1

   Policy. The original complaint did not include any claims against Defendants in their individual

   capacities, and the Amended Complaint added such claims without identifying which claims are


   9
    Plaintiffs assert that “Defendants brazenly err[ed]” in describing recent Supreme Court denials
   of injunctive relief, ECF No. 81 at 21 n.13, but this Court can decide for itself the import of those
   decisions, which indisputably deny applications for injunctive relief. ECF No. 76 at 17, 19 n.8.

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   asserted against which Defendants, which claims are asserted against Defendants in their

   individual capacity versus their official capacity, which claims seek damages as opposed to

   equitable relief, or which requested relief relates to which challenged policy.

          But even assuming Plaintiffs are permitted to sidestep their inadequate pleading in this

   regard, it would make no difference: Plaintiffs’ September 1 Policy arguments fail for precisely

   the same reasons the Amended Policy arguments fail. Plaintiffs again espouse First Amendment

   principles at a sky-high level of generality and cite cases that have nothing to do with the

   particular conduct at issue here. Indeed, Plaintiffs reference the facts of only two cases, both out-

   of-circuit, and one was issued after Defendants promulgated and applied the September 1 Policy.

   See Kane v. De Blasio, 19 F.4th 152 (2d Cir. 2021). In any event, one or two out-of-circuit cases

   are “insufficient to constitute the weight of authority from other circuits that is necessary to

   finding it clearly established that defendants’ particular conduct violated [the plaintiff’s] rights.”

   Routt v. Howry, 835 F. App’x 379, 385 (10th Cir. 2020).

          At bottom, Plaintiffs complain that the now-repealed September 1 Policy required

   Defendants to inquire into the sincerity of Plaintiffs’ religious beliefs, but both the Tenth Circuit

   and the Supreme Court have deemed such an inquiry not just permissible, but appropriate and

   often necessary. See, e.g., United States v. Seeger, 380 U.S. 163, 185 (1965) (“[W]hile the ‘truth’

   of a belief is not open to question, there remains the significant question whether it is ‘truly

   held.’ This is the threshold question of sincerity which must be resolved in every case.”); United

   States v. Quaintance, 608 F.3d 717, 721–23 (10th Cir. 2010) (deeming the sincerity of beliefs a

   question of fact and affirming a finding that plaintiffs’ claimed beliefs were not sincere and

   religious in nature). Consistent with those principles, Defendants’ actions under the September 1

   Policy did not impermissibly intrude into the truth of Plaintiffs’ religious beliefs or reject them,



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   but rather inquired as to whether the claimed beliefs were sincerely held. Thus, Defendants are

   also entitled to qualified immunity on all claims arising from the September 1 Policy to the

   extent those claims are even asserted in the Amended Complaint.

          Ultimately, Plaintiffs fail to establish that either policy constituted a clearly established

   violation of the First Amendment. For the same reasons, Plaintiffs also fail to demonstrate a

   clearly established violation of the Equal Protection Clause. The individual Defendants are

   therefore entitled to qualified immunity on each of Plaintiffs’ individual-capacity claims.

   IV.    Plaintiffs cannot state a plausible claim for relief under Rule 12(b)(6).

          A.      Plaintiffs’ Free Exercise claim fails because the Amended Policy is neutral
                  and generally applicable and satisfies rational basis review.

          In its Order denying Plaintiffs’ renewed motion for a preliminary injunction, the Court

   correctly determined that the Amended Policy was neutral and generally applicable and that it

   survived rational basis review. ECF No. 65 at 6–12. Plaintiffs’ Response again simply rehashes

   old arguments already rejected by the Court. The Court should reject them once again.

          First, the Amended Policy is neutral both on its face and as applied to Plaintiffs.

   Plaintiffs’ argument to the contrary—that the Amended Policy is not neutral because it allows

   students to seek medical exemptions but not religious exemptions—relies on a Ninth Circuit

   dissent and a “statement” from Justice Gorsuch in connection with an application for injunctive

   relief. ECF No. 81 at 23. Putting aside Plaintiffs’ reliance on non-precedent, this response

   confuses an intentional infringement on religious practices with a refusal to accommodate

   religious needs in connection with a legitimate government interest. “[T]he mere existence of a

   secular exemption is not sufficient to establish a claim for a religious exemption,” and therefore,

   here, does not render the Amended Policy non-neutral. See, e.g., Denver Bible Church, 2022

   U.S. App. LEXIS 1994, at *24.


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            Plaintiffs also argue that the Amended Policy’s neutrality is subject to a heightened

   scrutiny trigged by “even slight suspicion . . . [of] animosity to religion.” ECF No. 81 at 24

   (quoting Masterpiece Cakeshop, Ltd. v. Colo. Civ. Rts. Comm’n, 138 S. Ct. 1719, 1731 (2018)).

   This assertion is a sophistic attempt to bend a statement from Masterpiece Cakeshop, which

   really says that such a “suspicion” should cause government officials “to remember their own

   high duty to the Constitution.” 138 S. Ct. at 1731. Plaintiffs’ only claimed basis for such a

   suspicion is that Defendants replaced the September 1 Policy with the Amended Policy and later

   withdrew a previously granted medical exemption. Yet as this Court aptly recognized in denying

   Plaintiffs’ renewed motion for a preliminary injunction, “the fact that the University amended its

   policy while navigating a monthslong global pandemic does not show that its reasons for

   denying religious exemptions for students are pretextual” or that Defendants implemented the

   Amended Policy “with the aim of suppressing religious belief, rather than protecting the health

   and safety of students, staff, and the community.” ECF No. 65 at 8 (quoting Doe, 19 F.4th at

   1177).

            Second, the Amended Policy is generally applicable. Plaintiffs again complain that

   Defendants granted medical exemptions but not religious exemptions, relying on a Justice

   Gorsuch dissent from a “non-merits denial of emergency injunctive relief” as putative support

   for their argument. ECF No. 81 at 26. Plaintiffs ask the Court to reconsider its prior finding of

   general applicability, but nowhere do they explain how the Court got it wrong the first time. Nor

   do Plaintiffs refute Defendants’ arguments (or the Court’s prior findings) that students and

   employees are not comparable in this context and that medical exemptions further the

   University’s interest in protecting health and safety while religious exemptions do not. See, e.g.,

   Doe, 19 F.4th at 1177–80 (rejecting arguments similar to Plaintiffs’ as “fail[ing] to raise a



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   serious question as to whether the vaccination mandate is not neutral and generally applicable”).

          Plaintiffs also make faulty comparisons between themselves and (1) vaccinated staff and

   students who may be exposed to unvaccinated individuals off campus, (2) unvaccinated patients,

   and (3) vaccinated individuals who have not received booster shots. These comparisons fail

   because (1) vaccinated individuals working off campus are protected against COVID-19 and do

   not pose the same threat to the Anschutz community as unvaccinated individuals working or

   studying on campus, (2) Anschutz patients are not comparable to Anschutz employees or staff

   because their presence on-campus is more transient and because refusing medical care to the

   unvaccinated would undermine the University’s interest in health and safety, and (3) Plaintiffs

   acknowledge that vaccinated but un-boosted individuals have at least some increased protection

   against COVID-19. ECF No. 81 at 26. In any event, none of these distinctions turn on religion or

   constitute unfavorable treatment of religious practices.

          Third, because the Amended Policy is neutral and generally applicable, rational basis

   review applies, and the Court has already had “no trouble” finding that the Amended Policy has

   a rational basis. ECF No. 65 at 6 (citing similar cases). Plaintiffs suggest that the entire Amended

   Policy is “irrational” because three Plaintiffs work primarily off campus, because vaccinated

   students and employees are exposed to the unvaccinated off campus, and because the University

   does not currently have a booster mandate. But rational basis review does not require

   “mathematical nicety” because “[t]he problems of government are practical ones and may

   justify, if they do not require, rough accommodations -- illogical, it may be, and unscientific.”

   Heller v. Doe, 509 U.S. 312, 321 (1993) (quotations omitted).

          Plaintiffs rely on Christian Heritage Academy v. Oklahoma Secondary School Activities

   Association, 483 F.3d 1025 (10th Cir. 2007), but that case holds that a classification has a



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   rational basis so long as the government “‘could rationally have decided’ that its classification

   ‘might foster’ its purpose.” Id. at 1033 (quotation omitted). Here, it is rational to believe that

   requiring vaccination for all Anschutz employees and students (especially those with patient

   treatment responsibilities) will foster community health and safety, that having a limited number

   of vaccinated individuals work at affiliate sites where they may be exposed to the unvaccinated

   is less a health risk than having numerous unvaccinated students and employees on campus, and

   that vaccinated but un-boosted individuals are less a health risk than the unvaccinated.

          Finally, even if strict scrutiny applied, the Amended Policy would survive. The Court has

   already found that “Defendants have a compelling interest in ensuring that employees and

   students associated with Colorado’s preeminent medical campus are vaccinated against Covid-

   19—for their patients’ health and safety as well as their own.” ECF No. 65 at 12. The Court is

   correct: “Stemming the spread of COVID-19 is unquestionably a compelling interest.” Doe v.

   Mills, 16 F.4th 20, 32 (1st Cir. 2021) (quotation omitted). None of the cases Plaintiffs cite in

   arguing otherwise suggest that combatting a global pandemic is not a compelling interest.

          The Court should also reject Plaintiffs’ argument that the Amended Policy is somehow

   not narrowly tailored. The Amended Policy is narrowly tailored “because it requires vaccination

   only of those most likely to come into regular contact with those for whom the consequences of

   contracting COVID-19 are likely to be most severe.” Id. at 33. Under the Amended Policy, those

   who can work remotely have been granted religious accommodations because doing so does not

   increase the risk to health and safety posed by the unvaccinated, and only those plaintiffs who

   cannot work remotely and who would pose an undue hardship by risking community health and

   safety are denied exemptions. This includes, for example, Jane Doe 1, who as a critical care

   doctor in a Pediatric Intensive Care Unit frequently comes into contact with critically ill children,



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   many of whom are not yet eligible for vaccination and are thus among the most COVID-19

   susceptible patients. See Ex. 5 to Am. Compl. This satisfies the narrow tailoring requirement.10

   See Mills, 16 F.4th at 33.

          For these reasons, Plaintiffs fail to state a Free Exercise claim based on either the

   Amended Policy or the September 1 Policy (to the extent the Amended Complaint can be read to

   assert that claim). Besides any claims under the September 1 Policy being moot, that policy was

   neutral because it applied to all Anschutz students and employees and was generally applicable

   as applied to Plaintiffs because it resulted in the denial of all religious accommodations. And like

   the Amended Policy, the September 1 Policy easily satisfies rational basis review (and would

   also satisfy strict scrutiny). The Court should dismiss Plaintiffs’ Free Exercise claim.

          B.      Plaintiffs concede their Establishment Clause claim.

          Plaintiffs lump their Free Exercise and Establishment Clause claims together, apparently

   believing these clauses duplicative and that the same analytical framework applies to both. Not

   so. The Tenth Circuit recently made clear that the sort of Establishment Clause claim Plaintiffs

   assert requires plausible allegations that the government coerced Plaintiffs “to support or

   participate in religion or its exercise.” Janny v. Gamez, 8 F.4th 883, 904 (10th Cir. 2021)

   (quotation omitted). Defendants identified this standard in their Motion and explained how

   Plaintiffs had failed to satisfy it. ECF No. 76 at 24–25. Plaintiffs did not respond to that

   argument, assert any other Establishment Clause standard, or in any way explain how the

   Amended Complaint plausibly alleges sufficient facts to support an Establishment Clause claim.


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     Plaintiffs again cite Dahl, 15 F.4th 728 (6th Cir. 2021), but that case deemed “fighting
   COVID-19” a compelling interest and involved a policy that resulted in the denial of all religious
   exemptions and applied only to students participating in team athletic activities. Id. at 735. Here,
   the Amended Policy applies to all Anschutz employees and students, and several Plaintiffs have
   received religious accommodations under the policy.

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          By failing to respond to Defendants’ arguments, Plaintiffs have conceded them as a

   matter of law. See, e.g., Est. of Blodgett v. Correct Care Sols., LLC, 2018 U.S. Dist. LEXIS

   209535, at *22 (D. Colo. Dec. 12, 2018) (“Plaintiff does not respond to [an argument raised in a

   motion to dismiss], and so the Court deems it conceded.”). The Court should dismiss this claim

   either as conceded or for the reasons stated in Defendants’ Motion.

          C.      Plaintiffs fail to state an Equal Protection claim.

          Plaintiffs reference their Equal Protection claim in a single sentence in a footnote, ECF

   No. 81 at 29 n.17, leaving it to the Court to piece together how Plaintiffs’ Free Exercise

   arguments relate to their Equal Protection claim. Plaintiffs do not respond to the Equal Protection

   arguments raised by Defendants, nor do Plaintiffs identify how they have been treated differently

   than others who are actually similarly situated. See Grace United Methodist Church v. City of

   Cheyenne, 451 F.3d 643, 659 (10th Cir. 2006) (affirming dismissal where plaintiff failed to

   provide example of how it was treated differently than similarly situated entities). Plaintiffs also

   do not respond to any of the several cases Defendants cited in which other courts have rejected

   Equal Protection challenges to vaccination mandates. ECF No. 76 at 26. This Court need not

   undertake Plaintiffs’ research or articulate their arguments for them. As with their Establishment

   Clause claim, Plaintiffs have conceded Defendants’ Equal Protection arguments and the Court

   should dismiss this claim.

          D.      Plaintiffs fail to state a claim under the Colorado Constitution.

          Plaintiffs acknowledge that their claim under the Colorado Constitution is subject to the

   same analysis as their federal First Amendment claims. ECF No. 81 at 29 n.17. Because

   Plaintiffs’ First Amendment claims fail for the reasons described above and in Defendants’

   Motion, the Colorado Constitution claim likewise fails.



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          E.      Plaintiffs’ ADA claim fails for lack of a perceived impairment.

          To start, Title II of the ADA only applies to a “public entity,” so this claim cannot

   proceed against the individual Defendants. See, e.g., Phillips v. Tiona, 2012 U.S. Dist. LEXIS

   17236, at *3 (D. Colo. Feb. 13, 2012). Nor do Plaintiffs state a claim against the Board of

   Regents, because failure to obtain a vaccine is not a perceived physical impairment. ADA

   regulations provide that “[t]he definition of the term ‘impairment’ does not include physical

   characteristics . . . that are within ‘normal’ range and are not the result of a physiological

   disorder. The definition, likewise, does not include characteristic predisposition to illness or

   disease. Other conditions . . . that are not the result of a physiological disorder are also not

   impairments.” 29 C.F.R. § 1630, app. 1630.2(h). Plaintiffs thus do not plausibly allege that the

   Board of Regents “mistakenly believe[d]” that Plaintiffs had any physical impairment or explain

   how “the absence of COVID-vaccination generated antibodies” would constitute such an

   impairment.11 ECF No. 81 at 29–30. Rather, Plaintiffs merely allege that Defendants correctly

   perceived Plaintiffs as having “normal” immune systems that lack the additional protection

   afforded by COVID-19 vaccines.

          Plaintiffs are also not entitled to protection under the ADA because they pose “a direct

   threat to the health or safety of other individuals in the workplace” due to their increased

   likelihood of spreading COVID-19. 42 U.S.C. § 12113(b). And because Plaintiffs’ “essential job

   duties necessarily implicate the safety of others,” Plaintiffs have the burden of showing that they


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     Indeed, the EEOC has already deemed vaccination status to not implicate the existence of a
   disability: “When an employer asks employees whether they obtained a COVID-19 vaccination,
   the employer is not asking the employee a question that is likely to disclose the existence of a
   disability . . . . Therefore, requesting documentation or other confirmation of vaccination is not a
   disability-related inquiry under the ADA . . . .” EEOC, What You Should Know About COVID-19
   and the ADA, the Rehabilitation Act, and Other EEO Laws, at § K.9, https://www.eeoc.gov/
   wysk/what-you-should-know-about-covid-19-and-ada-rehabilitation-act-and-other-eeo-laws#K.

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   can perform their job functions “without endangering others.” McKenzie v. Benton, 388 F.3d

   1342, 1354–55 (10th Cir. 2004) (quotation omitted). Plaintiffs cannot meet that burden because

   they do not and cannot plausibly allege that unvaccinated employees and students pose no threat

   to the health and safety of the Anschutz community. For these reasons, Plaintiffs’ ADA claim

   fails as a matter of law.

                                            CONCLUSION

           Defendants respectfully request that the Court grant their Motion to Dismiss Plaintiffs’

   Amended Complaint in its entirety.12

           Respectfully submitted this 14th day of April 2022.

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   12
     Plaintiffs imply that their claims should not be dismissed because of their appeals currently
   pending before the Tenth Circuit challenging the denial of their preliminary injunction motions.
   ECF No. 81 at 21. But this Court has already denied Plaintiffs’ Motion to Stay proceedings while
   the appeals are pending. ECF No. 78.

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                                   CERTIFICATE OF SERVICE


          I certify that on April 14, 2022, I caused the foregoing motion to be electronically served

   on the following parties via CM/ECF No.:

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